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UN|TED STATES BANKRUPTCY COURT
MIDDLE DlSTRlCT OF FLOR|DA
FORT MYERS DlVIS|ON

ln re: Case No.: 9:15-bk-O7666-Fl\/|D
Chapter 13
Cinthia E|izabeth Pantaleon-Hardy

Debtor
/

MOT|ON TO VALUE COLLATERAL OF FEDERAL NAT|ONAL MORTGAGE
ASSOC|AT|ON (“FANN|E MAE”) SERV|CED BY SETERUS, lNC.

 

NOT|CE OF OPPORTUN|TY TO OBJECT AND REQUEST FOR HEAR|NG

Pursuant to Loca| Ru|e 2002-4, the Court will consider this motion, objection, or other matter
without further notice or hearing unless a party in interest files a response within 30 days from the date
set forth on the proof of service attached to this paper plus an additional three days for service |f you
object to the relief requested in this paper, you must file your response with the Clerk of the Court at
801 N. F|orida Ave., Ste. 555, Tampa FL 33602-3899 and serve a copy on the movant’s attorney, Laiia
S. Gonzalez, Esq., Freire & Gonzalez, P.A., 10647 N. Kendall Dr., l\/liami, FL 33176 and any other
appropriate persons within the time allowed

lf you file and serve a response within the time permitted, the Court may schedule and notify you
of a hearing, or the Court may consider the response and may grant or deny the relief requested
without a hearing. lf you do not file a response within the time permitted, the Court wi|| consider that you
do not oppose the relief requested in the paper, will proceed to consider the paper without further notice
or hearing, and may grant the relief requested

 

 

 

COMES NOW, Cinthia E|izabeth Pantaleon-Hardy, the Debtor, by and through her
undersigned counsel and moves this Honorable Court for a l\/lotion to Value Col|ateral of
Federa| National Mortgage Association (Fannie l\/lae) serviced by Seterus and as grounds
therefore would show:

1. The Debtor filed a petition for relief under Chapter 13 of the Bankruptcy Code on

Ju|y 27, 2015.
2. The Debtor owns real property (the “Rea| Property”) located at 3052 NW 96"‘

Street, l\/liami, FL 33147 and more particularly described as follows: LOT 1 AND

 

THE EAST 10 FEET OF LOT 2, |N BLOCK 27, OF A|\/|ENDED PLAT OF THE TROP|CS,

ACCORD|NG TO THE PLAT THEREOF, AS RECORDED |N PLAT BOOK ‘|0, AT PAGE17,0F

THE PUBL|C RECORDS OF |\/|lAN||-DADE COUNTY, FLOR|DA Wthh lS Valued at

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$84,000.00 pursuant to an appraisal by Rodolfo A. Betancourt attached hereto
as Exhibit 1.
3. The Creditor is to be at paid 5.25% interest for a total to be paid through the plan
for a total of $95,689.20.
4. Homewide Lending Corporation. holds a mortgage recorded at instrument No.
2007R1193478 recorded on December 18, 2007 which was assigned to Federal
National Mortgage Association (“Fannie l\/lae “ ) and same has filed a proof of
claim ( C|aim No. 16) alleging a secured claim in the amount of $210,114.47.
WHEREFORE, for the above reasons Debtor prays this Honorable Court enter an Order
valuing the Creditor’s collateral herein at $84,000.00 at 5.25% interest for a total of $95,689
determining the claim will be satisfied at the end of the bankruptcy and determining the balance

of the claim shall be treated as an unsecured claim.

CERT|F|CATE OF SERV|CE

l HEREBY CERTIFY that a copy of the foregoing this Eday of nU0\ , 2016, is
being mailed to Jon M. Waage, Chapter 13 Trustee, via NEF, Federal National Mortgage
Association, Fannie Mae, clo Robertson, Anschutz & Schneid, P.L., Attn: Nirvani D. Singh,
Esq., 6409 Congress Ave, Ste 100, Boca Raton, FL 33487,Federal National Mortgage
Association, Fannie Mae, Attn: President, Timothy J. Mayopou|os, 14221 Dallas Parkway, Ste
1000, Dallas, TX 75254 (via certified mail RR# 7015 1520 0002 9517 1567), Seterus, |nc. PO Box
54420, Los Angeles, CA 90017, Seterus, |nc. President, Jeffrey Johnson, President, 14523 SW
l\/li|likan Way, Ste 200, Beaverton, OR 97005, Seterus1 |nc.1 Attn: Registered Agent, CT
Corporation System, 1200 South Pine island Rd., P|antation, FL 33324 and Debtors, via first class
mail.

 

 

FFJ#!RE\&\G'Q..¢.,N =,1?’, P.A.
Att%-rneys for Debtor(s)
Edward Freire, Esq. FBN:0813771
Laiia S. Gonzalez, Esq. FBN10975291
10647 N. Kendall Drive
l\/liami, FL 33176
(305) 826-1774

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F|orida Surishine Appraisa| Corp.

Appraisa| Compliance Certification

Subiect Property Address
3052 Nw 96th sr

 

l\/|iami, FL 33147

 

Lega| Description
4 53 41AlviD Pl_ OF THE TRoPics PB1o-17 LOT1& E10FT oF

LOT 2 BLK 27 LOT S|ZE 60.000

 

Effective Date of Appraisal: 07/01/2015
File Number: R33052

ala mode, inc., certifies that the ordering and delivery ofthe above referenced appraisal report, the (“REPORT"),

was completed using the proprietary workflow and policies
platform. The following specific features were used for this

of the l\/lercury Network vendor management
order.

E intelligent Appraiser Selection System (lSS) was used to automatically select the appraiserfrom either

the complete l\/lercury Network appraiser pool or a

custom lender built fee panel.

E Double-Blind communication was enabled which restricts free-form communication between the
appraiser and person placing the order. All status messages are restricted to pre-written, system
supplied text. The identity of the appraiser is concealed until the appraisal is delivered.

The undersigned appraiser(s) responsible for preparing the

above referenced appraisal report hereby certify

that the report was completed and the opinion of value developed in accordance with USPAP standards; And, at
no time did any employee, director, officer, or agent ofthe lender, or any other third party acting as joint
venture partner, independent contractor, appraisal company, appraisal management company, or partner on

behalf of the lenderl influence or attempt to influence the de
REPORT.

velopment, reporting, result, or review of the

The appraiser(s) further certify that at no time were they provided with or informed 'of any estimate regarding
the Subiect Property's value including but not limited to a borrower estimate of value, proposed loan amount,

or loan to value ratio (LTV), except in the case of purchase t

ransactions where according to USPAP Standards

Rule 1-5(a) the appraiser is required to analyze all agreements of sale, options, and listings of the subject

property as of the effective date of the appraisal

a la mode, inc. is not a party to this agreement and does not have any obligations with respect to the

certifications made by the appraiser(s). Any claims or dispu
appraiser(s) and the recipient of the certification.

tes based on this certification are between the

 

Appraiser

Supervisory Appraiser (if required)
or Co-Appraiser (if applicable)

""'. ... ...".~¢

 

 

RODOLFO A. BETAN RT
Appraiser

5025 REGENCY |SLES WAY
COOPER C|TY, FL 33330

RD5925
License or Certification #

Signature

Supervisory or Co-Appraiser

License or Certification #

 

07/02/2015
Date of ReporUSignature

 

 

Date of Signature

 

 

Form APPRCPLNCCERT - "WinTOTAL" appra

isa| software by a la mode, inc. - 1-800-ALA|VIODE

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Address
Code 33147

 

Lender

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Form TUCNP - "WinTOTAL" appraisal software by a la mode, ine. -1-800-ALA|VIODE

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Main File No. Reaosa-!-

 

 

FROlVl: g le |cE s

RoDoi_Fo A. BETANcouRT .
leQlGE:NLll/lBEFl

FLOR|DA SUNSH|NE APPRA|SAL, CORP. ~
5025 REGENCY lSLES WAY
COOPER ClTY FL. 33330 ‘ ' ’ .<;~
rudy@f|asunshineappraisals.com CELL 786-712-5002 07/01/2015
Telephone Number: 954-530-8305 Fax Number: 954-839-6355

T0: internal Order #:

PR|VATE USE ONLY LenderCase #:
PR|VATE USE ONLY

  
  

 

 

 

Client File #:
Main File # on lorm: R33052
Other File #on form:

Telephone Num ber: Fax Number: Federal TBX lDZ 01 -08241 51
Alternate Number: E-Mail: Employer lD: 01.0824151

 

 

 

 

Lender: PR|VATE USE ONLY Cllent: PR|VATE USE ONLY
Purchaser/Borrower: C|NTH|A E. PANTALEON
Property Address: 3052 NW 96th St
City: l\/liami
County: M|AM|-DADE State: FL Zip: 33147
Lega| Descripfion: 4 53 41 Al\/lD PL OF THE TROP|CS PB 10-17 LOT1 & E1OFT OF LOT 2 BLK 27 LOT S|ZE 60.000

 

FULL APPRA|SAL . 350.00
*******PA|D lN FULL THANK YOU FOR YOUR BUS|NESS*******

SUBTOTAL § 350.00

 

 

 

Check #: CASH Date: 07/01/2015 Description: APPRA|SAL PA|D ` § -350.00
Check #: Date: Description: §
Check #: Date: Description:

SUBTOTAL 350.00

TOTAL DUE $ 0

 

 

 

 

Form N|V5 _ "WinTOTAL" appraisal software by a la mode, inc. _1-BOO-ALA|V|0DE
F|orida Sunshine Appraisa| Corp.

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FLOR|DA SUNSHlNE APPRA|SAL, CORP.
COOPER C|TY, FL. 33330

`.

APPRA|SAL OF REAL PRUPERTY

LOCATED AT:
3052 Nw 96th st
lo PL oF THE TRoPics PB 10-17 LOT1 & E1OFT oF LoT 2 BLK 27 LoT s
Miami, FL 33147

FUR:
PRivATE usE oNi_Y
PRivATE usE oNLY

AS 0F:
07/01/2015

BY:
RODOLFO A. BETANCOURT
5025 REGENCY lSLES WAY
COOPER C|TY FL. 33330
(FAX) 954-839-6355
rudy@flasunshineappraisa|s.comWEBSlTEwww.flasunshineappraisa|s.com

 

Form GAS - "WinTOTAL" appraisal software by a la mode, inc. _ 1-800-ALA|V10DE

is

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F|orida Sunshine Appraisa| Corp. iV|ain File No. RBSO§Z

UnifOl'm Re$idential Sa| Re rt Fi|e# RB3052
The of this is to the with an of the market value of the
Address Code
Borrower 0wner of Public Record

Assessor's Parcei # Tax Year R.E. Taxes
T
0wner Tenant Vacant Assessments PUD HOA 0
Fee Leasehoid
Purchase Transaction Reiinance Transaction Other PR|VATE
Address
ls the offered for sale or has it been offered for sale in the twelve months to the effective date of this

CURRENTLY LlSTED FOR THE PAST 12
i did did not analyze the contract for sale for the subject purchase transaction. Explain me results of the analysis of the contract for sale or why the analysis was not

Contract Price Date of Contract is the seller the owner of record? Yes No Data
is there any financial assistance (ioan charges sale concessionsl gift or downpayment assistancel etc.) to be paid by any party on behalf of the borrower?
if the total dollar amount and describe the items to be

Note: Race and the racial of the are not factors.
Location Urban Suburban Rura| Va|ues Stab|e PFliCE AGE One-Unit

0ver 75% 25-75% Under 25% in Ba|ance 0ver 2-4 Unit
Growth Stabie S|ow Time Under3 mths 3-6 mths 0ver 6 mii1s Low

Boundan'es

NW

Market Conditions for the above

THE AREA. NO NEGAT|VE
NO
1

is the and best use of
Utilities Public Other
Gas

FEMA F|ood Hazard Area Yes
Are the utilities and off-site

Y PR|CED
DATE |NSPECT|ON.

No
and the use?

Public other Off-site
Water Street
Sewer
No FEMA F|ood che FEMA #
for the market area'! Yes No if describe

Are there adverse site conditions or external factors environmental land

Units One 0ne with
# of Stories
T Det. Att.

Year Buiit
Effective 17
Attic None
Stair Stairs
Fioor
Finished Heated

Finished area above contains:
Additiona| efficient

the condition of the

conform to the

Freddie l\/iac Form 70 lViarch 2005

Concrete S|ab Crawi Wa|is
Full Basement Partia| Basement Wa|is

Area Surface

% &

Outside T

of

Settlement
FWA
Other Fue|
Centra| Air
individual Other Poo|
Dishwasher li/iicrowave
6 Rooms Bedrooms

 

uAD version 9/2011 Page 1 or 6

Form 1004UAD - "WinTOTAL" appraisal software by a la mode, inc. - 1-BUO-ALAli/iODE

Commercia|
Pred. Other
OF A E

Y AND DEN|AND

ARE

N

No if describe

- T Public Private

FEMA Date

Yes No if describe

F|oors

W

Wainscot C.

# of Cars
Surface
# of Cars
# of Ears
Att. Det. Bui|t-in
\
Feet of Gross Area Above Grade

No if describe

Fannie lV|ae Form 1004 i\/|arch 2005

CaSe 9215-bk-O7666-F|\/|D DOC 19 Filed 01/21/16

There are 1

There are

FEATURE

Address 3052 NW 96th St
to

Saie Price

Sa|e

Data

Verification

VALUE ADJUST|V|ENTS

Sales or Financing

Concessions

Liv. Area

Location

Site
View

Actua|

Condition

Above Grade

Room Count

Gross Area
Basement & Finished
Rooms Be|ow Grade
Functional

Osf

Adjusted Sa|e Pn'ce
of
| not

research did did not reveal
Data

did did
Data

of

|TEM
Price of Prior ransfer
Data
Effective Date of Data

sale or

of Sa|es

Sa|es
. Sales

indicated Value
indicated Value

This appraisal is made "as is",

sales in the
SUBJECT

DESCR|PT|ON

Uniform Residential

offered for sale in the
within the months
#1

3030 NW 87th Ter

DESCR|PTION
REO

Tota| Bdrms. Bams T

1 307

AN DAR D

+ .
Ne't Adj`. 10.6 %

Gross % Gross

sales or of the for the three

of the sales

sale or transfer of
SUBJECT

9330 NW 33rd Ave

DESCR|PT|ON
REO

Net Adj.

COMPAHABLE SALE #1

Page 8 of 24

R rt
in from

in sale from
# 2

Fi|e# RB3052
to 1
to
SALE #3
8761 NW 32nd Ct

DESCR|PT|ON
REO

+ - + -
12.1 % Net Ad]. 8.3 %

% Gross %
to effective date of this
of the

sales
CO|V|PARABLE SALE #2

On
CO|VIPARABLE SALE #3

income

COST

subject to completion per plans and specifications on the basis of a hypothetical condition that the improvements have been

compieted, E subject to the following repairs or alterations on the basis of a hypothetical condition that the repairs or alterations have been completed or E subject to the

based on the

Based on a complete visual
conditions, and appraiser‘s
84 as of

Freddie iViac Form 70 ii/|arch 2005

07 1/2015

that the condition or

_and exterior areas of
my (our) opinion of the market value, as
which is the date of

UAD Version 9/2011 Page_2 of 6

Form 1004UAD _ 'WinTOTAL" appraisal software by a ia

does not

property, defined scope

alteration or

work, statement of assumptions and limiting
of the real property that is the subject of this report is
the effective date of this

 

Fannie iVlae Form 1004 l\/|arch 2005

mode, inc. _1-800-ALAli/10DE

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information for the
value

Provide

EST|MATED
Source of cost data

Comments on Cost

Estimated Economic Life

lillarket Rent
of income

Estimated

is in of-
Provide the
Name of
Total number of
otal number of units
Was the created
Does the contain

elements leased

CO|'TlfT|Ol'l

Freddie lVlac Form 70 i\/larch 2005

information for PUDs ONLV if the

the conversion of

Uniform Residential

to the below cost and calcul
of for

REPLACE|\/lENT

Effective
area

X Gross
for market rent and

Association

Total number of units

Total number of

into a PUD? Yes
No Data Source

units? Yes

facilitiesl

UAD Version 9/2011 Page 3

No
is in control of the HOA and the

iviain Fiie ivo. R53052

raisal Re rt

File # RB3052
THE

ations.
site

DWELL|NG

Total Estimate of Cost-New
Functional

"As-is" of Site

lNDlCATED VALUE BY COST APPROACH _____________________________________________ =

indicated Value income

Unit Attached

is an attached unit.

Total number of units sold
Data

No if date ofconversion.

terms and

 

of 6 Fannie i\/lae Form 1004 lViarch 2005

Form 1004UAD _ "WinTOTAL" appraisal software by a ia mode, inc. -1-800-ALA|V|0DE

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_

Uniform Residential Appraisai Report Fi.e# RB3052

 

This report form is designed to report an appraisal of a one-unit property or a one-unit property with an accessory unit;
including a unit in a planned unit development (PUD). This report form is not designed to report an appraisal of a
manufactured home or a unit in a condominium or cooperative project.

This appraisal report is subject to the following scope of work, intended use, intended user, definition of market value,
statement of assumptions and limiting conditions, and certifications. iVlodifications additions or deletions to the intended
use, intended user, definition of market value, or assumptions and limiting conditions are not permitted. The appraiser may
expand the scope of work to include any additional research or analysis necessary based on the complexity of this appraisal
assignment. li/lodifications or deletions to the certifications are also not permitted. However, additional certifications that do
not constitute material alterations to this appraisal report, such as those required by law or those related to the appraiser's
continuing education or membership in an appraisal organization, are permitted.

SCOPE OF WORK: The scope of work for this appraisal is defined by the complexity of this appraisal assignment and the
reporting requirements of this appraisal report form, including the following definition of market value, statement of
assumptions and limiting conditions and certifications The appraiser must, at a minimum: (1) perform a complete visual
inspection of the interior and exterior areas of the subject property, (2) inspect the neighborhood, (3) inspect each of the
comparable sales from at least the street, (4) research, verify, and analyze data from reliable public and/or private sources
and (5) report his or her analysis opinions and conclusions in this appraisal report,

|NTENDED USE: The intended use of this appraisal report is for the lender/client to evaluate the property that is the
subject of this appraisal for a mortgage finance transaction.

|NTENDED USER: The intended user of this appraisal report is the lender/client.

DEF|N|T|ON OF MARKET VALUE: The most probable price which a property should bring in a competitive and open
market under all conditions requisite to a fair sale, the buyer and seller, each acting prudently, knowiedgeably and assuming
the price is not affected by undue stimulus. implicit in this definition is the consummation of a sale as of a specified date and
the passing of title from seller to buyer under conditions whereby: (1) buyer and seller are typically motivated; (2) both
parties are weil informed or weil advised, and each acting in what he or she considers his or her own best interest; (3) a
reasonable time is allowed for exposure in the open market; (4) payment is made in terms of cash in U. S. dollars or in terms
of financial arrangements comparable thereto; and (5) the price represents the normal consideration for the property sold
unaffected by special or creative financing or sales concessions* granted by anyone associated with the saie.

*Adjustments to the comparables must be made for special or creative financing or sales concessions No adjustments are
necessary for those costs which are normally paid by sellers as a result of tradition or law in a market area; these costs are
readily identifiable since the seller pays these costs in virtually ali sales transactions. Special or creative financing
adjustments can be made to the comparable property by comparisons to financing terms offered by a third party institutional
lender that is not already involved in the property or transaction. Any adjustment should not be calculated on a mechanical
dollar for dollar cost of the financing or concession but the dollar amount of any adjustment should approximate the market's
reaction to the financing or concessions based on the appraiser's judgment

STATEMENT OF ASSUMPT|ONS AND LiM|T|NG COND|T|ONS: The appraiser's certification in this report is
subject to the following assumptions and limiting conditions:

1. The appraiser will not be responsible for matters of a legal nature that affect either the property being appraised or the title
to it, except for information that he or she became aware of during the research involved in performing this appraisal. The
appraiser assumes that the title is good and marketable and will not render any opinions about the titie.

2. The appraiser has provided a sketch in this appraisal report to show the approximate dimensions of the improvements
The sketch is included only to assist the reader in visualizing the property and understanding the appraiser's determination
of its size.

3. The appraiser has examined the available flood maps that are provided by the Federal Emergency l\/lanagement Agency
(or other data sources) and has noted in this appraisal report whether any portion of the subject site is located in an
identified Special Fiood Hazard Area. Because the appraiser is not a surveyor, he or she makes no guarantees express or
impiied, regarding this determination

4. The appraiser will not give testimony or appear in court because he or she made an appraisal of the property in question,
unless specific arrangements to do so have been made beforehand, or as othenivise required by law.

5. The appraiser has noted in this appraisal report any adverse conditions (such as needed repairs deterioration, the
presence of hazardous wastes toxic substances etc.) observed during the inspection of the subject property or that he or
she became aware of during the research involved in performing the appraisal. Unless othen/vise stated in this appraisal
report, the appraiser has no knowledge of any hidden or unapparent physical deficiencies or adverse conditions of the
property (such as but not limited to, needed repairs deterioration, the presence of hazardous wastes toxic substances
adverse environmental conditions, etc.) that would make the property less valuabie, and has assumed that there are no such
conditions and makes no guarantees or warranties express or implied. The appraiser will not be responsible for any such
conditions that do exist or for any engineering or testing that might be required to discover whether such conditions exist.
Because the appraiser is not an expert in the field of environmental hazards this appraisal report must not be considered as
an environmental assessment of the property. .

 

 

6. The appraiser has based his or her appraisal report and valuation conclusion for an appraisal that is subject to satisfactory
completion, repairs or alterations on the assumption that the completion, repairs or alterations of the subject property will
be performed in a professional manner.

 

 

Freddie lVlac Form 70 i\/larch 2005 UAD Version 9/2011 Page 4 of 6 Fannie lVlae Form 1004 i\/larch 2005

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iviain File No. aeaoez-.'-

Uniform Residentiai Appraisai Report Fi.e#RBaOez

 

APPRA|SER'S CERT|F|CAT|ON: The Appraiser certifies and agrees that:

1. i have, at a minimum, developed and reported this appraisal in accordance with the scope of work requirements stated in
this appraisal report,

2. l performed a complete visual inspection of the interior and exterior areas of the subject property. l reported the condition
of the improvements in factuai, specific terms l identified and reported the physical deficiencies that could affect the
livability, soundness or structural integrity of the property.

3. i performed this appraisal in accordance with the requirements of the Uniform Standards of Professionai Appraisai
Practice that were adopted and promulgated by the Appraisai Standards Board of The Appraisai Foundation and that were in
place at the time this appraisal report was prepared

4. l developed my opinion of the market value of the real property that is the subject of this report based on the sales
comparison approach to value. l have adequate comparable market data to develop a reliable sales comparison approach
for this appraisal assignment. l further certify that l considered the cost and income approaches to value but did not develop
them, unless otherwise indicated in this report,

5. i researched, verified, analyzed, and reported on any current agreement for sale for the subject property, any offering for
sale of the subject property in the twelve months prior to the effective date of this appraisai, and the prior sales of the subject
property for a minimum of three years prior to the effective date of this appraisal, unless otherwise indicated in this report.

6. l researched, verified, analyzed, and reported on the prior sales of the comparable sales for a minimum of one year prior
to the date of sale of the comparable sale, unless otherwise indicated in this report,

7. i selected and used comparable sales that are locationaiiy, physically, and functionally the most similar to the subject property.

8. l have not used comparable sales that were the result of combining a land sale with the contract purchase price of a home that
has been built or will be built on the land.

9. l have reported adjustments to the comparable sales that reflect the market's reaction to the differences between the subject
property and the comparable sales

10. l verified, from a disinterested source, ali information in this report that was provided by parties who have a financial interest in
the sale or financing of the subject property. _

11. l have knowledge and experience in appraising this type of property in this market area.

12. l am aware of, and have access to, the necessary and appropriate public and private data sources such as multiple listing
services tax assessment records public land records and other such data sources for the area in which the property is iocated.

13. l obtained the information, estimates and opinions furnished by other parties and expressed in this appraisal report from
reliable sources that l believe to be true and correct.

14. l have taken into consideration the factors that have an impact on value with respect to the subject neighborhood, subject
property, and the proximity of the subject property to adverse influences in the development of my opinion of market value. l
have noted in this appraisal report any adverse conditions (such as but not limited to, needed repairs deterioration, the
presence of hazardous wastes toxic substances adverse environmental conditions, etc.) observed during the inspection of the
subject property or that l became aware of during the research involved in performing this appraisal. l have considered these
adverse conditions in my analysis of the property value, and have reported on the effect of the conditions on the value and
marketability of the subject property.

15. l have not knowingly withheld any significant information from this appraisal report and, to the best of my knowledge, all
statements and information in this appraisal report are true and correct.

16. l stated in this appraisal report my own personai, unbiased, and professional analysis opinions and conclusions which
are subject only to the assumptions and limiting conditions in this appraisal report.

17. l have no present or prospective interest in the property that is the subject of this report, and l have no present or
prospective personal interest or bias with respect to the participants in the transaction. l did not base, either partially or
completeiy, my analysis and/or opinion of market value in this appraisal report on the race, color, religion, sex, age, marital
status handicap, familial status or national origin of either the prospective owners or occupants of the subject property or of the
present owners or occupants of the properties in the vicinity of the subject property or on any other basis prohibited by law.

18. lVly employment and/or compensation for performing this appraisal or any future or anticipated appraisals was not
conditioned on any agreement or understanding, written or otherwise, that l would report (or present analysis supporting) a
predetermined specific value, a predetermined minimum value, a range or direction in value, a value that favors the cause of
any party, or the attainment of a specific result or occurrence of a specific subsequent event (such as approval of a pending
mortgage loan application).

19. l personally prepared ali conclusions and opinions about the real estate that were set forth in this appraisal report if l
relied on significant real property appraisal assistance from any individual or individuals in the performance of this appraisal
or the preparation of this appraisal report, l have named such individual(s ) and disclosed the specific tasks performed in this

 

 

 

appraisal repor‘r. l certify tnaFny inoivioualm‘mmm?mmmwzedmmke
a change to any item in this appraisal report; therefore, any change made to this appraisal is unauthorized and l will take no
responsibility for it.

20. l identified the lender/client in this appraisal report who is the individual, organization, or agent for the organization that
ordered and will receive this appraisal report.

 

 

Freddie Nlac Form 70 l\/|arch 2005 UAD Version 9/2011 Page 5 of 6 Fannie lVlae Form 1004 iViarch 2005

Form 1004UAD - 'WinTOTAL" appraisal software by a la mode, inc. - 1-800-ALAiViODE

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Uniform Residential Appraisai Report

iviain File ivo. aeaoez-.'-

Fiie# RB3052

 

21. The lender/client may disclose or distribute this appraisal report to: the borrower; another lender at the request of the
borrower; the mortgagee or its successors and assigns; mortgage insurers; government sponsored enterprises other
secondary market participants; data collection or reporting services; professional appraisal organizations any department
agency, or instrumentality of the United States; and any state, the District of Coiumbia, or other jurisdictions without having to
obtain the appraiser's or supen/isory appraiser's (if applicable) consent. Such consent must be obtained before this appraisal
report may be disclosed or distributed to any other party (including, but not limited to, the public through advertising, public

relations news sales or other media).

22. l am aware that any disclosure or distribution of this appraisal report by me or the lender/client may be subject to certain
laws and regulations Further, l am also subject to the provisions of the Uniform Standards of Professional Appraisai Practice

that pertain to disclosure or distribution by me.

23. The borrower, another lender at the request of the borrower, the mortgagee or its successors and assigns mortgage
insurers government sponsored enterprises and other secondary market participants may rely on this appraisal report as part
of any mortgage finance transaction that involves any one or more of these parties

24. if this appraisal report was transmitted as an "eiectronic record" containing my "eiectronic signature," as those terms are
defined in applicable federal and/or state laws (excluding audio and video recordings), or a facsimile transmission of this
appraisal report containing a copy or representation of my signature, the appraisal report shall be as effective, enforceable and
valid as if a paper version of this appraisal report were delivered containing my original hand written signature.

25. Any intentional or negligent misrepresentation(s) contained in this appraisal report may result in civil liability and/or
criminal penalties inciuding, but not limited to, fine or imprisonment or both under the provisions of Title 18, United States

Code, Section 1001, et seq., or similar state laws

SUPERV|SORY APPRA|SER'S CERT|F|CAT|ON: The Supervisory Appraiser certifies and agrees that:

1. l directly supervised the appraiser for this appraisal assignment, have read the appraisal report, and agree with the appraiser's
analysis opinions statements conclusions and the appraiser's certification.

2. l accept full responsibility for the contents of this appraisal report including, but not limited to, the appraiser‘s analysis opinions

statements conclusions and the appraiser's certification.

3. The appraiser identified in this appraisal report is either a sub-contractor or an employee of the supervisory appraiser (or the
appraisal firm), is qualified to perform this appraisal, and is acceptable to perform this appraisal under the applicable state iaw.

4. This appraisal report complies with the Uniform Standards of Professional Appraisai Practice that were adopted and
promulgated by the Appraisai Standards Board of The Appraisai Foundation and that were in place at the time this appraisal

report was prepared.

5. if this appraisal report was transmitted as an "eiectronic record" containing my "electronic signature," as those terms are
defined in applicable federal and/or state laws (excluding audio and video recordings), or a facsimile transmission of this
appraisal report containing a copy or representation of my signature, the appraisal report shall be as effective, enforceable and
valid as if a paper version of this appraisal report were delivered containing my original hand written signature.

 

  
 
 

Name

 

 

5025 REGEch isi_Es wAY
COOPER C|TY, FL 33330
Telephone Number 954-530-8305
Emai|AddreSS rudy@flasunshineappraisals.com
Date of Signature and Report 07/02/2015
Effective Date oprpraisai 07/01/2015

State Ceitification # RD5925

or State License #

Company Address

 

 

 

 

 

 

or Other (describe) State #
State FL
Expiration Date of Certification or License 11/30/2016

ADDRESS OF PROPERTY APPRA|SED
3052 NW 96th St
Miami, FL 33147

 

m Signature

SUPERVISORY APPRA|SER (ONLY lF REGU|RED)

 

Name
Company Name
Company Address

 

 

 

 

Telephone Number
Email Address
Date of Signature
State Certification #

or State License #

State

Expiration Date of Certification or License

 

 

 

 

 

 

SUBJECT PROPERTY

E Did not inspect subject property

|:| Did inspect exterior of subject propertyfrom street
Date of inspection

E Did inspect interior and exterior of subject property

 

 

 

 

 

 

 

 

 

 

 

 

APPRAlSED VALUE OF SUBJECT PROPERTY $ 84 000 _
LENDER/CL| ENT Date of inspection
i" liu Nu Ai`v'i\.,
Company Name PRlvATE UsE oNLY COMPARABLE SALES
COmpany Address PR|VATE USE ONLY [j Did not inspect exterior of comparable sales from street
_ j:j Did inspect exterior of comparable sales from street
Email Address Date of inspection
Freddie lVlac Form 70 l\/larch 2005 UAD Version 9/2011 Page 6 of 6 Fannie l\/lae Form 1004 l\/larch 2005

Form 1004UAD _ 'WinTOTAL" appraisal software by a la mode, inc. -1-800-ALAlVl0DE

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SUPPLEMENTAL ADDENDUM FiieNo.

Address

 

Comments and Conditions of Appraisai

THE lNTENDED USER OF THE APPRA|SAL REPORT lS THE FHA/HUD. THE |NTENDED USER OF THE
APPRA|SAL REPORT lS THE FHA/HUD. THE SUBJECT lVlEET THE l\/llNll\/lUl\/l PROPERTY REQU|REl\/lENTS
AS OUTL|NE lN THE HUD HANDBOOK 4150.2 AND 4905.1. ALL SALES WERE CLOSED SALES AND
CONSlDERED STRONG lVlARKET VALUE lNDlCATORS FOR THE SUBJECT PROPERTY. THEY ARE /-\LL
RELAT|VELY S|l\/l|LAR TO THE SUBJECT |N TER|V|S OF S|ZE, DES|GN AND l\/|ARKET APPEAL. AFTER
EXTENS|VE RESEARCH, THESE SALES WERE DEEMED THE BEST AVAlLABLE AND l\/lOST Sll\/l|LAR
CONF|R|V|ED SALES lN THE SUBJECT'S ll\/ll\/lEDlATE AREA. THEY ARE ALL LOCATED lN THE SUBJECT'S
ll\/ll\/lED|ATE AREA AND SHARE THE SAl\/lE |F NOT Sll\/||LAR NE|GHBORHOOD AlVlEN|TlES.

Purgose of the Appraisai

The purpose of the appraisal is to estimate the l\/larket Value of the subject property as of the date indicated The
definition of l\/iarket Value is as defined in FHLBB R-‘i 1e (9/1 1/87) and FNl\/lA Form 1004b (7/86).

Highest and Best Use

Highest and Best Use (or Uses) that will produce the highest net or higher present worth. in analyzing Highest and
Best Use, the appraiser considered four primary elements in the order presented:

. Possible: Those physically possible uses to which the site is suited

. Permissible: Those possible uses permitted by zoning or deed restrictions

. Feasible: Those permissible uses which will produce a net return or present worth to the owner.

. Highest and Best Use: Those feasible uses which will produce the highest net return or highest, present worth.

AC»JN-\

The opinion of Highest and Best Use indicated' in this report takes into account these factors and the subject
property as it compares with the surrounding neighborhoods

Se tic Tanks

if "Septic Tanks" is indicated in the SlTE section of the report, it is noted that this is an acceptable form of waste
disposal in the neighborhood Unless otherwise noted in the comment section of SlTE or by separate addenda, no
visible problem with a septic tank was noted at the time of inspection. The existence of a septic tank would have no
effect on the estimate of value or marketability.

Condition of Comgonents

The appraisal form used for this appraisal calls for opinions of conditions of certain components of the subject
improvements including but not limited to appliances heating and cooling systems surfaces electrical, mechanical
or plumbing systems The conditions indicated in this report are based on observation made at the time of the
inspection. They rely on visual indicators as well as reasonable expectations as to adequacy, and are dictated by
neighborhood standards relative to marketability.

 

Form TADD _ "WinTOTAL" appraisal software by a la mode, inc. _1-800-ALA|V|00E

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SUPPLEMENTAL ADDENDUM File No. R53052

    

Address
Code

Floocl Zone information

The Fiood Zone information appearing on this report does not directly address the questions of whether or not flood
insurance is required on the property. Floocl insurance requirements are established by Secondary l\/larket
participants through regulation, guideline and commitment

The information appearing on this report refers to the location (or not) of the subject property in a FEi\/iA or HUD
identified Special Flood Hazard Area. For the purpose of this report, properties located in A, B, C or zones are
deemed to be in a Special Fiood Hazard Area.

The information shown on the report was derived from Flood insurance Rate lVlaps (FlRi\/l) issued by the National
Flood insurance Program (NF|P) of the Federal Emergency i\/ianagement Area (FEl\/lA). From time to time a subject
property will lie on or near a zone boundary line and it may be difficult to determine which zone or zones are
indicated in such cases the appraisal form will indicate the most hazardous zone. Final determination of flood
zone should be verified against a property engineering survey, indicating floor elevations

income Approach to Value

The income Approach is premixed on capitalizing a net operating income from a property to arrive at an indicated
value. The subject is a residential property, typically purchased for the intangible amenities of home ownership and
not for the purpose of generating income.

if the indicated value by income Approach on the appraisal form was completed N/A, then it was the judgement of
the appraiser based on the above factors and our research that the income Approach was inappropriate for this

assignment.
\

Personal Property

Certain items normally found in residential properties are Personal Property, which can be defined, as those items
are not permanently attached to the real estate. From time to time purchase/sale contracts include items of
personal property as part of the contract and sales price. These might include (but not limited to):

* refrigerator * window treatments

* above ground swimming pool * washer/dryer

* counter top microwave oven * movable dishwasher

* outdoor patio furniture * recreational items

Exgianation of Building Sguare Foot Area

The appraisal uses actual living area in the market analysis for both the subject and the comparable sale properties
The living area utilized for the sales data has been abstracted from the Public Records/Tax Rolis listed square foot
area data and may have been further modified by the field appraiser's observation of the actual improvements

The abstracted living area of the sale properties have been calculated to the best of the appraiser's observation and
information obtainable. However, the appraiser has not measured the sale properties or had benefit of surveys
unless othen/vise noted in l\/iiami-Dade County, the square foot data in the Public Records/Tax Rolis is given in a
composite amount called the "Adjusted Living Area". This figure is the sum of the base living area, plus a
percentage of other building areas (such as garage, carport, porches, etc.). This living area utilized in the l\/larket
Ana|ysis may have been further modified by the field appraiser's observation of actual improvements in accordance
with the definition of Market Value, attached hereto, the Subject Property is appraised on the basis of conventional
financial arrangements unaffected by special or creative financing or sales concessions granted by anyone
associated with one sale,

 

Form TADD - "WinTOTAL" appraisal software by a la mode, inc. -1-800-ALAMODE

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lVlain File No. RB3052 Pa¢e #12

SUPPLEMENTAL ADDENDUM File No.

State FL Code 33147

 

Scoge of the Appraisai

According to the Uniform Standards of Appraisai Practices, as adopted February 27, 1987 and effective duly 1,
1987, the term "Scope of the Appraisal" means "the extent of the process of collecting, conforming and reporting
data". in order to value the subject at hand, an inspection of the subject property, as weil as it's surrounding area,
will be performed for the purpose of thoroughly familiarizing oneself with it's locational, physical and environmental
qualities. Attention will be directed to the physical characteristics and direction of growth and the principal factors
likely to influence the quality and quantity of demand for the area's residential market. A survey and analysis will
then be conducted of residential properties in the relevant market area to determine the market trends with regards
to physical characteristics inherent within the residential segment. The subject property will then be valued using the
Cost Approachl Direct Sales Approach and income Capitalization Approach, however, any omission of these
recognized methods will be explained by the appraiser.

Comparable Saies Over Six Months

Every effort has been made to secure comparable sales which transpired within the six-month period immediately
preceding the date of valuation. Utilization of sales which occurred beyond the optimum period will indicate that
more recent sales were unavailable or that the most recent sales available would necessitate larger adjustments
than the ones on the comparable sales utilized in this report. Comparable sales therefore, will reflect the selection
of those sales deemed most representative for the subject property. The time frame is expanded to recite sales
which have characteristics similar to those of the subject property and provide accurate indicators of value, this is
common and necessary appraisal practice in this area, An analysis of sales within the past year of similar properties
in the area reveals no significant increases or decreases in property values`which would warrant a market condition
(time) adjustment Lack of more current comparable sales in the subject's market area does not necessarily mean
that adverse market conditions exist and their use is not considered to affect the quality of the value estimate since
current market derived adjustments were used to compensate for major differences between the subject and
comparable sales utilized

Comment on |nfestation. Dampness and Settlement Limitinq Condition

The subject property has been inspected by the appraiser to determine it's current general condition for the purpose
of estimating it's market value. This inspection is not a Home inspection or a Termite inspection. Although the
appraiser did not note any severe adverse conditions the appraiser is not licensed or trained in the above disciplines
and cannot legally render a professional opinion. There are no guarantees or warranties given or implied For an
accurate report on the above mentioned unknown potential problems an inspection is recommended through an
appropriate licensed professional.

 

Form TADD _ 'WinTOTAL" appraisal software by a la mode, inc. -1-800-ALAli/l00E

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SUPPLEMENTAL ADDENDUM FiieNo.RBaoe2

E. PANT
Address NW

Code

 

ATE USE

Comment on Predominant Price and Aqe

The Age or Sales Price which occurs within the marketplace with the greatest degree of frequency, within the time
frame from which the sales data was selected (typically 6 months or 1 year), is reported as the "Predominant" factor.

There is no direct relationship between a greater occurance of any single factor within a limited time frame, and the
market value or marketability of one particular property the fact that the predominant sales price is lower or higher
than the estimate of market value does not indicate an adverse condition for the subject property.

Line items

The client may rely on the reported estimate of market value and the appraisal report as a whole. No reliance may
be placed on any individual line item and or section of the report. All information contained herein is believed to be
correct, but not guaranteed

Warranties and indemnity

Appraiser does not make any warranties or guarantees of any kind regarding the condition of the subject property,
sufficiency of title, areas and boundaries mechanical and structural conditions of the improvements and with the
agreement that the Appraisai Report represents Appraiser's opinion of value only, without any warranty that the
property will sell for the appraised value. Client agrees to indemnify Appraiser, his employees and independent
contractors from all ciaims, suits and charges of any nature that may arise out of this agreement.

Comments on Saies Comparison

All sales were closed sales and considered strong market value indicators for the subject property. They are all
relatively similar to the subject in terms of size, design and market appeal. After extensive research, these sales
were deemed the best available and most similar confirmed sales in the subject's immediate area. They are all
located in the subject's immediate area and share the same if not similar neighborhood amenities

DlGlTAL S|GNATURE

The digital signatures utilized in this report were taken from the original signature furnished by the appraiser. The appraiser's
signature affixed in this report was actually the inspecting appraiser's signature. The software program utilized in this report
provides a security feature that protects the integrity of the appraiser's signature by a password protection system and the
appraiser has the sole personalized control of affixing the signature.

An electronically affixed signature carries the same level of authenticity and responsibility as an ink signature on a paper copy
report.

This electronically transmitted report meets USPAP reporting requirementsl Steps have been appropriately taken to protect the
data integrity of this transmitted report. `

 

Form TADD _ "WinTOTAL" appraisal software by a ia model inc. _1-600-ALAlVl00E

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vain File No. R53052l-
Suhject Photo Page

Address

 

Lendef PR|VATE USE ONLY

Suhiect Front
3052 Nw seth st

Sa|es Price 0
Gross Living Area 1,307
Total Hooms 6

Total Bedrooms 3
Total Bathrooms 2.0

Location N;Res;Res
VieW N;Res;Res
Site 8,400 SF
Oua|ity 03

Age 63

 

 

Su hject Rear

 

Su hiect Street

 

 

Form P|CP|X.SR - "WinTOTAL" appraisal software by a la mode, inc. -1-800-ALAl\/|ODE

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lnterior Photos

Address NW
i Code 147

PR|VATE U S E

  
 

SUBJECT’S S|DE

   

LEAKING ROOF LEAK|NG ROOF

   

GHECK FUR MOLD CHEGK FOR MOLD

 

 

BEDRODM _ BATHROOM LEAK|NG RUUF
Form P|C|NT15 _ 'WinTOTAL" appraisal software by a la mode, inc. -1-800-ALA|VIODE

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lnterior Photos

E.
Address NW

147
Lender PR|VATE USE

 

BEDRODM LlVlNG ROOM BATHRDOM

 

BEDRUOM LEAKING RUDF LEAK|NG ROOF

 

Form P|C|NT15 - "WinTOTAL" appraisal software by a la mode, inc. -1-800-ALAMODE

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Comparable Photo Page

Lender

 

 

Comparable 1
3030 NW 87th Ter
Pro)<. to Sub]ect 0.54 miles S

Sa|e Price 83,000
Gross Living Area 1,118
Total Rooms 5

Total Bedrooms 3
Total Bathrooms 1.0

Location N;Res; Res
View N;Res;Res
Site 7,650 SF
Ouality Q3

Age 66

 

Comparable 2
9330 Nw 33rd Ave
Prox. to Subject 0.39 miles SW

Sa|e Price 75.000
Gross Living Area 1,103
Total Roums 5

Total Bedrooms 3
Total Bathrooms 1.0

Location N ;Res;Res
View N;Res;Res
Site 6,000 SF
Uua|ity 03

Age 63

 

 

Comparable 3
8761 Nw 32nd ct
Prox. to Subject 0.53 miles SW

Sa|e Price 72,000
Gross Living Area 1 ,269
Total Flooms 5

Total Bedrooms 3
Total Bathrooms 1.0

Location N;Res;Res
View N;Res;Res
Sile 6.000 SF
Ouality 03

Age 64

 

 

Form P|CP|X.CR - "WinTOTAL" appraisal software by a la mode, inc. -1-800-ALAlVlODE

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APPRA|SER LlGENSE

 

 

 

 

 

 

 

      

 

       

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Form SCNLGL _ "WinTOTAL" appraisal software by a la mode, inc. -1-800-ALA|\/lODE

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E&O |NSURANCE

 

 

 

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*NSURA"EE ama LJAMMTY issues-ima seems

301 Ei Pmlrttl Stm:£. filnci:msti,. \O'H 452|}2

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tamm §§. Fnrzm, amicus and Eudpmuxs¢ma atlaciwé:

melvin ramey msz 111 ms 131
means quarter pmpa tower

 

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Form SGNLGL - "WinTOTAL" appraisal software by a |a mode, inc. - 1-800-ALA|\/l0DE

 

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Building Sketch

Address 3052

State FL

 

Lender PR|V

 

 

 

20'

 

 

 

 

Bath
Kitchen
Bed room
l\)
_ Bed room .\'
'\ \r
"' ve
Bath
Living
Bed room
43'

    
 
 

 

 

   

1306.7 Sq ft 27 )< 20

 

22.96 >< 27.73 = 636.73
0.5 x 27.73 )< 0.04 = 0.55
14.46 )< 7 = 101.22
1. 7 u.l - /./)
0.5 x 6.1 )< 2.1 = 6,39
0.5 X 3.36 X 8.36 = 14.07

Total Living Area (Rounded): 1307 Sq ft

 

 

 

 

Form SKT.BldSk| _ "WinTOTAL" appraisal software by a |a mode, inc. -1-800-ALA|V|0DE

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Location Map

|A
Address NW
i State Fi_
PRlVA

 

 

Comparable # 2
933{! Nw 33rd Ave
1159 miles SW

Suhject
3052 NW 95th St

Comparabie # 3

sam Nw 32nd ct

553 miles SW l ' - _

v - ' Comparable # 1

3030 NW 87th Ter
854 miles S

 

~ Form MAP.LOC - 'WinTOTAL" appraisal software by a la mode, inc. -1-800-ALAMODE

